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                                    UNITED STATES DISTRICT COURT
                                        DISTRICT OF MARYLAND

          CHAMBERS OF                                                           101 WEST LOMBARD STREET
    STEPHANIE A. GALLAGHER                                                     BALTIMORE, MARYLAND 21201
  UNITED STATES DISTRICT JUDGE                                                        (410) 962-7780
MDD_SAGchambers@mdd.uscourts.gov




                                                         October 4, 2024


    LETTER ORDER

           Re: USA v. Justin Riggs
               Criminal Case No. SAG-23-0022

    Dear Counsel:

          This will confirm the results of today’s conference call. The following deadlines for
    motions briefing have been scheduled as follows:

                    November 15, 2024:           Defense Motions due

                    December 6, 2024:            Government Responses

                    December 27, 2024:           Defense Replies

                    February 28, 2025            Motions Hearing
                    at 9:30 a.m.

           Despite the informal nature of this letter, it is an Order of the Court and will be docketed
    as such.

                                                         Sincerely yours,

                                                                /s/

                                                         Stephanie A. Gallagher
                                                         United States District Judge
